     Case 1:05-cr-00018-MP-AK          Document 106        Filed 10/11/06     Page 1 of 1


                                                                                        Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 103, a motion by Isreal Bishop to continue his

sentencing. A teleconference was held in this case on October 17, 2006, during which the

government consented to the continuance. Accordingly, the sentencing of Mr. Bishop is hereby

reset for Friday, December 1, 2006, at 10:30 a.m.


       DONE AND ORDERED this 11th day of October, 2006


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
